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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Jennifer A. Lis
                                  Debtor(s)                                          CHAPTER 13

MIDFIRST BANK
                                  Movant
                  vs.
                                                                                 NO. 20-12224 AMC
Jennifer A. Lis
                                  Debtor(s)
Mark Gowland
                                  Co-Debtor
William C. Miller Esq.
                                  Trustee                                  11 U.S.C. Section 362 and 1301

                                  MOTION OF MIDFIRST BANK
                            FOR RELIEF FROM THE AUTOMATIC STAY
                                  UNDER SECTION 362 and 1301

         1.        Movant is MIDFIRST BANK.

         2.        Debtor and Mark Gowland are the owner(s) of the premises 10211 Ambridge Place,

 Philadelphia, PA 19114, hereinafter referred to as the mortgaged premises.

         3.        Movant is the holder of a mortgage, original principal amount of $95,700.00 on the

 mortgaged premises that was executed on January 30, 1998. The mortgage has been assigned as follows:

         MERS, Inc. to MidFirst Bank, A Federally Chartered Savings Association filed June 5, 2019 at

 Document ID Number 53521139

         4.         William C. Miller Esq., is the Trustee appointed by the Court.

         5.        The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.        Debtor and Mark Gowland have failed to make the monthly post-petition mortgage

 payments in the amount of $958.67 for the months of January 2021 through March 2021 with late charges

 totaling $153.36. The debtor’s suspense balance is $7.98.

         7.        In addition to the other amounts due to Movant reflected in this Motion, as of the date

 hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees and
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legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

with applicable loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.

        8.         The total amount necessary to reinstate the loan post-petition is $3,021.39 (plus attorney’s

fees & costs).

        9.       Movant is entitled to relief from stay for cause.

        10.        This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                            /s/ Rebecca A. Solarz, Esq.
                                                            _________________________________
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